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                 16

                 17                             UNITED STATES DISTRICT COURT
                 18          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                 19

                 20 EDGAR TRUJILLO,                               Case No. 2:20-cv-05008-JFW-KS
                 21                Plaintiff,                     [PROPOSED] ORDER: JOINT
                                                                  MOTION REQUESTING APPROVAL
                 22                                               OF PRIVATE ATTORNEY GENERAL
                            v.
                                                                  ACT SETTLEMENT (“PAGA”)
                 23                                               (LABOR CODE SECTION 2689 ET
                    AIRPORT TERMINAL SERVICES,                    SEQ.)
                 24 INC., a Missouri corporation; and
                    DOES 1 through 20, inclusive,                 [Filed concurrently with declaration from Melissa
                 25                                               Newman Avila, Counsel of Record for Plaintiff]
                                   Defendants.
                 26                                               Complaint Filed: April 3, 2020
PO caption MNE                                                    Trial Date:       August 31, 2021
                 27                                               District Judge: Hon John F. Walter
                                                                  Magistrate Judge: Hon. Karen L. Stevenson
                 28                                                                   Case No. 2:20-cv-05008-JFW-KS
                          [PROPOSED] ORDER: JOINT MOTION REQUESTING APPROVAL OF
                         PRIVATE ATTORNEY GENERAL ACT SETTLEMENT (“PAGA”) (LABOR
                                         CODE SECTION 2689 ET SEQ.)
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  1                                    [PROPOSED] ORDER
  2      The Court, having considered the Joint Stipulation by the Parties requesting the
  3   Court’s approval of the PAGA Settlement pursuant to California Labor Code §§2699
  4   et seq, and good cause appearing therefor, it is hereby:
  5      1. ORDERED that the PAGA penalties in the total amount of $15,000.00, as part

  6
      of the settlement of the Parties has been reviewed by the Court and are hereby
      approved pursuant to the Labor Code § 2699(l)(2); it is further
  7
         2. ORDERED that $6,750.00 shall be paid to the Law Offices of Ramin R.
  8
      Younessi, A.P.L.C., as attorney’s fees in connection with the PAGA Settlement
  9
      pursuant to §2699(g)(1); it is further
 10
         3. ORDERED that $2,000.00 shall be paid to the PAGA administrator; it is further
 11
         4. ORDERED that $4,687.50 shall be paid to the California Labor & Workforce
 12
      Development Agency representing 75% of the PAGA Settlement after accounting for
 13
      the attorney’s fees for Plaintiff’s counsel; it is further
 14      5. ORDERED that $1,562.50 shall be paid to the “PAGA Representative Group;”
 15   and it is further
 16      6. ORDERED that the term “PAGA Representative Group” includes All
 17   employees who worked for ATS as ramp managers for at least one workweek between
 18   January 30, 2019, and the date the Court approves the PAGA settlement.
 19

 20   IT IS SO ORDERED.
 21   DATED: _____________
 22          _______________________________
 23                                                    HON. JOHN F. WALTER
 24                                                    DISTRICT COURT JUDGE
 25

 26

 27

 28
          [PROPOSED] ORDER: JOINT MOTION REQUESTING APPROVAL OF
         PRIVATE ATTORNEY GENERAL ACT SETTLEMENT (“PAGA”) (LABOR
                         CODE SECTION 2689 ET SEQ.)
